  A0 245B (Rev. O6/5) Judgment in a Criminal Case
           Sheet I



                                          UNITED STATES DISTRICT COURT
                                                                        District of	                             ALABAMA

         UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                             V.
                  RAS*EEK MORRIS                                                                 	
                    aAk/a BOOTS                                                Case Number:                     3:07CR261-MEF-02
                                                                               USM Number:                      12246-002

                                                                               Derek E. Yarbrou2h
                                                                               Defendant's Attorney
THE DEFENDM
X pleaded guilty to co     rs)	      1 and 6 of the Indictment on 6/17/2008
o pleaded nob conter       eto count(s)	        ______________________________
   which was accepted      the court.
o was found guilty on
  after a plea of not gi

The defendant is                  guilty of these offenses:

Title & Section                    Nature of Offense                                                            Offense Ended	           Count

21:846                             Conspiracy to Distribute and Possess with Intent to Distribute               3/3/2006	                  1
                                   a Controlled Substance
18:924(c)(1)(A)                    Possession of a Firearm During a Drug Trafficking Crime                      3/3/2006	                  6


       The defendant is sentenced as provided in pages 2 through	                      6	     of this judgment. The sentence is imposed pursuant to
the Sentencing Reform ct of 1984.
El The defendant has b n found not guilty on count(s)	                 __________________________________________________________
X Count(s) 2, 3 and I of the Indictment	                      El is	    X are dismissed on the motion of the United States.

         It is ordered tht the defendant must notif' the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until ll fines, restitution, costs, and special assessments imposed by this judgment are fullypaid. If ordered to pay restitution,
the defendant must notiti,' the court and United States attorney of material changes in economic circumstances.

                                                                               November 4, 2008
                                                                               Date of Imposition of Judgment



                                                                               Signature of




                                                                               MARK E. FULLER, CHIEF U.S. DISTRICT JUDGE
                                                                               Name and Title of Judge



                                                                               Date
AO 245B	       (Rev. 06/0 5) udgment in Criminal Case
               Sheet 2 — lnlpnsonment
                                                                                                           Judgment - Page	   2	   of	   6
            	
 DEFENDANT:                       RASHEEK MORRIS, alka/ BOOTS
              	
 CASE NUMBER:                     3:07CR261-MEF-02


                                                                IMPRISONMENT

        The defendant s hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

One hundred thirt' eight (138) months. This term consists of 78 months as to Count 1 and 60 months on Count 6 to
run consecutive to ICount 1.


         XThe court maks the following recommendations to the Bureau of Prisons:
          The Court rtcommends that defendant be designated to a facility where Intensive Residential Substance Abuse
          Treatment is lavailable. The Court recommends that defendant be designated to a facility for educational benefits
          to all classes *nd successfully complete a GED program. The Court further recommends that defendant be housed
          as close to Oelika, Alabama within BOP and still be able to attend treatment and classes as ordered.

         X The defendant 4s remanded to the custody of the United States Marshal.

         DThe defendant Esall surrender to the United States Marshal for this district:

           Dat _________________ 0 a.m. 0 p.m. on -
           D asnotifit by the United States Marshal.

         DThe defendant s 	       surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before2p on
           [1 as notified the United States Marshal.
           [I] as notified the Probation or Pretrial Services Office.


                                                                       RETURN
I have executed this 	                      as follows:




                       	                	
           Defendant               on                                                        to
     	
at                                                        with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL


                                                                              By
                                                                                                    DEPUTY UNITED STATES MARSHAL
AO 245B	      (Rev. 06/05)	 	       • in a Criminal Case
              Sheet 3 - S           Release
                                                                                                               Judgment—Page	      3	    of	         6
           	
DEFENDANT:   RASHEEK MORRIS, a/ka/ BOOTS
CASE NUMBER: 3:07CR261-MEF-02
                                                            SUPERVISED RELEASE
Upon release from                         the defendant shall be on supervised release for a term of:

Five (5) years. This               consists of 5 years on Count 1 and 5 years on Count 6, all such terms to run concurrently.



     The defendant                report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bure              Prisons.
The defendant shall             commit another federal, state or local crime.
The defendant shall n4t unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defen4ant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determinjed by the court.
 o The above drug                    condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance                 (Check, if applicable.)
X The defendant si               not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant si               cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 O The defendant si              register with the state sex offender registration agency in the state where the defendant resides, works, or is a
     student, as direct          by the probation officer. (Check, if applicable.)
 o The defendant si              participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment i          oses a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments            eet of this judgment.
     The defendant m             comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant          not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant          report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
   3)      the defendant          answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant          support his or her dependents and meet other family responsibilities;
   5)      the defendant          work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable rei
   6)      the defendant          notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant          refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled sul         e or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant          not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant        El not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless       tited permission to do so by the probation officer;
 10)       the defendant        1 permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband o1        ied in plain view of the probation officer;
 11)       the defendant        I notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant        11 not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of        court; and
 13)       as directed by       probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or pen        Ll history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s cc       liance with such notification requirement.
AO 245B	   (Rev. O6/O5 Judgment in a Criminal Case
           Sheet 3C H Supervised Release
                                                                                        Judgment—Page	   4	   of	      6
DEFENDANT:	   RASHEEK MORRIS, a/ka/ BOOTS
CASE NUMBER: 3:07CR261-MEF-02

                                        SPECIAL CONDITIONS OF SUPERVISION

Defendant shall prticipate in a program approved by the United States Probation Office for substance abuse, which
may include testing to determine whether defendant has reverted to the use of illegal drugs. Defendant shall
contribute to the c*st of any treatment based on ability to pay and the availability of third-party payments.
Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this
Court.	           I
AO 245B	       (Rev. 06/05) udgment in a Criminal Case
               Sheet 5 - C minal Monetaiy Penalties
                                                                                                           Judgment—Page	         5	   of	     6
DEFENDANT:	                           RASHEEK MORRIS, a/ka/ BOOTS
CASE NUMBER:	                         3:07CR261-MEF-02
                                                  CRIMINAL MONETARY PENALTIES
     The defendant mist pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                                                                     	
                                                                              Fine                                  Restitution
                             	                                                  	
TOTALS	                  $                                                   so                                    so


 El The detenninatio4 of restitution is deferred until ______. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determjnation.

 0 The defendant mist make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant nakes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specified otherwise in
     the prionty order r percentage payment column below. However, pursuant to 18 U.s .C. § 3664(i), all nonfederal victims must be paid
     before the United tates is paid.
                     	                                          	                                              	
Name of Payee                                     Total Loss*                            Restitution Ordered                 Priority or Percenta2e




           	                                 	
TOTALS                                  Fi                             0_	       $


EJ Restitution amounl ordered pursuant to plea agreement $

O The defendant mu4 pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
    fifteenth day after 4ie date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
    to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0 The court determin d that the defendant does not have the ability to pay interest and it is ordered that:
      0 the interest req irement is waived for the	                 D fine 0 restitution.
      0 the interest req irement for the 	               El fine 0 restitution is modified as follows:


* Findings for the total an4unt of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but efore April 23, 1996.
AO 245B	   (Rev. 06/0 5) judgment in a Criminal Case
           Sheet 6— Schedule of Payments
                                                                                                              Judgment - Page	      6	    of	     6
DEFENDANT:	  RASHEEK MORRIS, a/ka/ BOOTS
CASE NUMBER: 3:07CR261-MEF-02

                                                       SCHEDULE OF PAYMENTS

Having assessed the c              's ability to pay, payment of the total criminal monetary penalties are due as follows:

A X Lump sum                       of $ 200.00	                  due immediately, balance due

           El notla           than_____________________ ,or
           x in acc          dance	   El C, El D, El E,or X Fbelow;or
B 0 Payment to               gin immediately (may be combined with El C,	                 0 D, or El F below); or
C [] Payment in              ual _____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
                             (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D [] Payment in         ual _____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
                        (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
           term of supe ,ision; or

E El Paymentd     the term of supervised release will commence within ____________ (e.g., 30 or 60 days) after release from
     imprisonme I The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F X Special ins                    regarding the payment of criminal monetary penalties:

           Criminal m               payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama, P.O.
           Box 711,M                ry, AL 36101.




Unless the court has exp ssly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cr1 inal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Progra are made to the clerk of the court.

The defendant shall rec         credit for all payments previously made toward any criminal monetary penalties imposed.



El Joint and Several

      Defendant and Co.             ant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding             if appropriate.




El The defendant sha pay the cost of prosecution.

El The defendant sha: pay the following court cost(s):

El The defendant shal forfeit the defendant's interest in the following property to the United States:




Payments shall be applit       in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) con     unity restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
